                 THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         ASHEVILLE DIVISION
                   CIVIL CASE NO. 1:21-cv-00067-MR


DMARCIAN, INC.,                  )
                                 )
                  Plaintiff,     )
                                 )
     vs.                         )             SECOND AMENDED
                                 )             PRELIMINARY INJUNCTION
DMARCIAN EUROPE BV,              )
                                 )
                  Defendant.     )
________________________________ )

        THIS MATTER is before the Court sua sponte.

        The Court has entered an Order contemporaneously herewith which

grants the Defendant’s request to modify the Amended Preliminary Injunction

Order entered in this matter on August 11, 2021. Consistent with that Order,

the Court hereby enters the following Second Amended Preliminary

Injunction Order.

        IT IS, THEREFORE, ORDERED that the Defendant, its officers,

agents, servants, employees, attorneys, affiliates, and those persons in

active concert or participation with the Defendant are HEREBY ENJOINED

from:

        (1) providing services to any customers located outside of Europe,

        Africa, or Russia, except for the six customers detailed in the


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Defendant’s Brief on Proposed Voluntary Commitments [Doc. 32 at 4

n.3];

(2) providing access to any of its websites to IP addresses from

countries outside of Europe, Africa, or Russia. The Defendant shall

inform website visitors from outside of those areas that it does not

create new accounts in that region and shall direct those customers to

contact dmarcian, Inc. for services through the Plaintiff’s website

https://dmarcian.com;

(3) making changes to the trade secret source code except as

specifically and expressly allowed or directed by this Order;

(4) using the Plaintiff’s trademark in any manner in the United States

or on any websites which are accessible to IP addresses from the

United States, unless such use is accompanied by a statement which

reads: “This trademark is the trademark of dmarcian, Inc. This website

is produced and generated and posted by dmarcian Europe BV, which

is a different entity from dmarcian, Inc. This trademark is being used

at this location without the permission of dmarcian, Inc. and only

pursuant to the terms of a court order allowing its temporary use during

litigation between dmarcian, Inc. and dmarcian Europe BV.” That

statement must be at least the size of the trademark itself, as
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presented, or 12-point type when displayed on a 24” computer screen,

whichever is larger.     Such statement must appear immediately

adjacent to the location where the trademark appears, and must be

shown at each location where the trademark appears, whether that be

on the Defendant’s website, in printed material, an electronic display,

or otherwise;

(5) displaying any website with the “dmarcian” name which is

accessible to IP addresses from the United States, unless that website

includes a statement that “The dmarcian software was originally

developed by dmarcian, Inc. This is not the website of dmarcian, Inc.

The website of dmarcian, Inc. can be found at https://dmarcian.com.”

That statement must be displayed as a banner at the top of each page

of the website on which the dmarcian name appears and must be of a

size that is at least 12-point type when displayed on a 24” computer

screen, and the reference to the website of the Plaintiff must be a link

to that website;

(6) redirecting, encouraging, or allowing any customer to change its

payment recipient from the Plaintiff to the Defendant. To the extent that

the current service provider for any customer is different from the

payment recipient for that customer, the party providing services to that
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      customer is prohibited from unilaterally terminating or otherwise

      altering those services without the express permission from the Court;

      (7) making any public statement about dmarcian, Inc. except as

      expressly allowed or directed herein; and

      IT IS FURTHER ORDERED that the Defendant shall provide to the

Court (under seal) copies of all documents sufficient to show all income

received by the Defendant and the sources thereof, all expenditures made

by the Defendant and the payors thereof, and all net income generated by

the Defendant’s business efforts from the date of this Order until the

conclusion of this action.

      IT IS FURTHER ORDERED that no further bond is required in

conjunction with the entry of this Amended Preliminary Injunction, the Plaintiff

already having posted a bond in the amount of $25,000.

      IT IS SO ORDERED.




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